       Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 1 of 40




       24-2299
      In the United States Court of Appeals
              for the Second Circuit

            PEOPLE OF THE STATE OF NEW YORK,
                                        Plaintiff-Appellee,
                               –v.–

                PRESIDENT DONALD J. TRUMP,
                                      Defendant-Appellant.


    On Appeal from the United States District Court for the
       Southern District of New York (No. 23-cv-3773)
                 (Hon. Alvin K. Hellerstein)


     REPLY BRIEF FOR DEFENDANT-APPELLANT


JEFFREY B. WALL                        ROBERT J. GIUFFRA, JR.
MORGAN L. RATNER                       MATTHEW A. SCHWARTZ
SULLIVAN & CROMWELL LLP                JAMES M. MCDONALD
1700 New York Ave. NW                  SULLIVAN & CROMWELL LLP
Washington, DC 20006                   125 Broad Street
(202) 956-7500                         New York, New York 10004
                                       (212) 558-4000

  Counsel for Defendant-Appellant President Donald J. Trump
                       Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 2 of 40




                                       TABLE OF CONTENTS

                                                                                                                  Page

TABLE OF AUTHORITIES ................................................................................ii

INTRODUCTION ................................................................................................... 1

ARGUMENT ........................................................................................................... 4

I.       THIS APPEAL IS NOT MOOT ................................................................ 4

         A.       The Federal-Officer Removal Statute Allows Removal Of A
                  Criminal Prosecution After The State Trial Court Enters
                  Judgment ............................................................................................. 4

         B.       DANY’s Efforts To Avoid Removal Are Legally Flawed .............. 8

II.      PRESIDENT TRUMP HAD GOOD CAUSE TO FILE A
         SECOND, POST-TRIAL REMOVAL NOTICE .................................. 12

         A.       President Trump’s Second Removal Notice Satisfied The
                  Requirements Of The Federal-Officer Removal Statute ............. 13

                  1.       The prosecution “relates to” President Trump’s
                           official acts because DANY used those acts as
                           evidence at trial ....................................................................... 14

                  2.       The removal notice asserted colorable federal
                           defenses.................................................................................... 24

         B.       President Trump Had Good Cause To File The Second
                  Removal Notice After Trial ............................................................. 27

CONCLUSION ...................................................................................................... 33
                     Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 3 of 40




                                   TABLE OF AUTHORITIES

                                                                                                         Page(s)

Cases

Aetna Life Ins. Co. v. Big Y Foods, Inc.,
  52 F.4th 66 (2d Cir. 2022) ................................................................................... 9

Arizona v. Manypenny,
  451 U.S. 232 (1981)................................................................................... passim

Caterpillar Inc. v. Lewis,
  519 U.S. 61 (1996).............................................................................................. 16

Clinton v. Jones,
   520 U.S. 681 (1997)............................................................................................ 23

Colbert v. Rio Tinto PLC,
  824 Fed. Appx. 5 (2d Cir. 2020) ....................................................................... 27

Council on Am. Islamic Relations v. Ballenger,
  444 F.3d 659 (D.C. Cir. 2006)........................................................................... 23

Coventry Health Care of Mo., Inc. v. Nevils,
  581 U.S. 87 (2017).............................................................................................. 15

FDIC v. Keating,
  12 F.3d 314 (1st Cir. 1993) ................................................................................. 7

Granny Goose Foods, Inc. v. Bhd. of Teamsters & Auto Truck
  Drivers Loc. No. 70,
  415 U.S. 423 (1974)...................................................................................... 10, 11

Harris v. U.S. Dep’t of Transp. FMCSA,
  122 F.4th 418 (D.C. Cir. 2024) ................................................................ passim

Holtzman v. Oliensis,
  91 N.Y.2d 488 (1998) ......................................................................................... 26

Ingersoll-Rand Co. v. McClendon,
  498 U.S. 133 (1990)............................................................................................ 16
                                                         ii
                     Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 4 of 40




Isaacson v. Dow Chem. Co.,
   517 F.3d 129 (2d Cir. 2008) ........................................................................ 17, 20

Jefferson Cnty. v. Acker,
   527 U.S. 423 (1999)................................................................................ 14, 19, 24

K&D LLC v. Trump Old Post Off. LLC,
  951 F.3d 503 (D.C. Cir. 2020)........................................................................... 17

Knight First Amend. Inst. at Columbia Univ. v. Trump,
  928 F.3d 226 (2d Cir. 2019) .............................................................................. 22

Lamar, Archer & Cofrin, LLP v. Appling,
  584 U.S. 709 (2018)............................................................................................ 15

Latiolais v. Huntington Ingalls, Inc.,
  951 F.3d 286 (5th Cir. 2020) ............................................................................. 17

Martin v. Hunter’s Lessee,
  14 U.S. (1 Wheat.) 304 (1816) .......................................................................... 11

McDonnell v. United States,
  579 U.S. 550 (2016)............................................................................................ 19

Mesa v. California,
  489 U.S. 121 (1989)...................................................................................... 24, 25

Matter of Meyerland Co.,
  960 F.2d 512 (5th Cir. 1992) ......................................................................... 7, 11

Moore v. Consol. Edison Co. of N.Y.,
  409 F.3d 506 (2d Cir. 2005) ................................................................................ 4

Putnam v. DeRosa,
  963 F.2d 480 (1st Cir. 1992) ............................................................................... 7

Reed v. Ross,
  468 U.S. 1 (1984)................................................................................................ 28

Resolution Tr. Corp. v. Nernberg,
  3 F.3d 62 (3d Cir. 1993) .................................................................................... 11

                                                         iii
                       Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 5 of 40




In re Savers Fed. Sav. & Loan Ass’n,
   872 F.2d 963 (11th Cir. 1989) ............................................................................. 7

Tennessee v. Davis,
  100 U.S. 257 (1879)............................................................................................ 18

Trump v. United States,
  603 U.S. 593 (2024)................................................................................... passim

Willingham v. Morgan,
  395 U.S. 402 (1969)............................................................................................ 19

Youngstown Sheet & Tube Co. v. Sawyer,
  343 U.S. 579 (1952)............................................................................................ 22

Statutes

12 U.S.C.
   § 632 ...................................................................................................................... 7
   § 1789 .................................................................................................................... 7
   § 1819 .................................................................................................................... 6

28 U.S.C.
   § 1442 ......................................................................................................... passim
   § 1447 ............................................................................................................ 11, 12
   § 1455 ......................................................................................................... passim
   § 30143(a) ........................................................................................................... 26

N.Y. Election Law § 17-152 ................................................................ 26, 27, 30, 31

Removal Clarification Act of 2011,
  Pub. L. No. 112-51, 125 Stat. 545 .................................................................... 16

Other Authorities

11 C.F.R § 108.7 ..................................................................................................... 26

16 Moore’s Federal Practice Civil § 107.141 ....................................................... 11




                                                               iv
              Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 6 of 40




                              INTRODUCTION

      In opposing removal, the District Attorney of New York County

(DANY) ignores that this is an extraordinary case. Initially, DANY claimed

that its prosecution of President Donald Trump was based solely on private

acts. But by the time the trial ended, DANY had rested its case on testimony

probing President Trump’s official acts during his first term, and on a legal

theory that would turn any federal-campaign-law violation into a state-law

crime. Trial thus made eminently clear that President Trump’s appeal of his

conviction belongs in federal court.

      Under 28 U.S.C. § 1442(a)(1), a federal officer may remove any

prosecution “for or relating to any act under color of [federal] office.” Supreme

Court precedent also requires that the defendant put forward a colorable

federal defense. This prosecution of President Trump, which never should

have been brought, checks both boxes. By introducing his official acts as

President into evidence and permitting those acts to be “scrutinized to help

secure his conviction,” Trump v. United States, 603 U.S. 593, 631 (2024),

DANY made its prosecution “relate[] to” those acts. And vitally, President

Trump has compelling federal defenses of Presidential immunity and

preemption under the Federal Election Campaign Act.
              Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 7 of 40




      Despite the paramount federal interests at stake, the district court

erroneously denied President Trump leave to remove. In a cursory three-page

order issued just hours after President Trump filed his 60-page notice, the

court found that he did not have “good cause” to explain why he was removing

the case only after his trial had concluded. 28 U.S.C. § 1455(b)(1). But

President Trump could not have raised any of the arguments he advanced in

his removal notice before his trial for a straightforward reason: those bases

for removal arose for the first time during or after his trial. It was not until

the middle of the trial that the state court judge permitted the testimony about

President Trump’s official acts in 2017. It was not until the very end of trial

that DANY finally settled on its state-law theory that is preempted under

FECA. And it was not until a month after trial that the Supreme Court handed

down its landmark Trump decision. The district court ignored all of these

powerful bases for removal, except to say that (one part of) Trump did not

change its pre-trial analysis. Its summary denial of leave to remove was an

abuse of discretion.

      Unable to defend the district court’s erroneous order on the merits,

DANY now incorrectly claims that the case has become moot because the state

trial court has sentenced President Trump. Courts have construed broadly


                                        2
              Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 8 of 40




the right of federal officers to seek removal, taking care not to “frustrate[]”

the statute’s purpose with a “narrow, grudging interpretation.” Arizona

v. Manypenny, 451 U.S. 232, 242 (1981). Thus, as the D.C. Circuit recently

held—in a case that DANY does not cite—a federal officer may remove a

pending state court action even after the state trial court imposes its

judgment, Harris v. U.S. Dep’t of Transp. FMCSA, 122 F.4th 418, 424 (D.C.

Cir. 2024), if he can establish “good cause.” 28 U.S.C. § 1455(b)(1). As the D.C.

Circuit explained, such appellate removal has long been accepted under

similarly worded removal statutes. See Harris, 122 F.4th at 424-425.

      Because President Trump had good cause to remove this case after his

trial, this Court should order the district court to grant him permission to do

so now. Such an order would transfer the pending appellate proceedings from

the New York State Appellate Division to this Court (after a brief

administrative stop at the district court). An appeal would then proceed in this

Court as if the case has been in federal court all along—as it should have been.

      This Court should reverse.




                                        3
              Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 9 of 40




                                 ARGUMENT

I.    THIS APPEAL IS NOT MOOT.

      An appeal becomes moot only if the court loses its “ability to offer

effective relief.” Moore v. Consol. Edison Co. of N.Y., 409 F.3d 506, 510 (2d

Cir. 2005). DANY claims (at 20-27) this appeal became moot when the state

court sentenced and entered judgment against President Trump on January

10, 2025. But this criminal case continues on appeal. If this Court allows

President Trump to remove, as it should, his appeal will shift from state court

to federal court where it belongs.          The federal-officer removal statute

authorizes such post-trial removal, as the D.C. Circuit recently confirmed in

Harris. Because that “effective relief” remains available, DANY has not

carried its burden to show mootness.

      A.    The Federal-Officer Removal Statute Allows Removal Of A
            Criminal Prosecution After The State Trial Court Enters
            Judgment.

      Contrary to DANY’s argument, a federal officer may remove an

appropriate suit at any time that it is still pending, even after trial and

judgment. A later removal simply changes the standard: pre-trial removals

are as of right, while later removals require a showing of “good cause.” The

statutory text makes that clear, and precedent and policy confirm it.


                                        4
              Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 10 of 40




      Section 1455 governs the procedures for federal-officer removal in

criminal cases. That provision states that defendants are entitled to remove

“a criminal prosecution . . . not later than 30 days after the arraignment . . . or

at any time before trial, whichever is earlier, except that for good cause shown

the United States district court may enter an order granting the defendant or

defendants leave to file the notice at a later time.” 28 U.S.C. § 1455(b)(1)

(emphasis added).      By its terms, the statute unambiguously permits a

defendant to seek leave to remove based on “good cause” after trial has

begun—i.e., “at a later time” than the default deadline of “before trial.” And

the statute imposes no limit on the back end, including any bar on removal

after a trial court has entered judgment.

      Just over two months ago, the D.C. Circuit held just that in Harris, 122

F.4th at 424. Harris construed the general federal-officer removal provision,

Section 1442, which applies to both civil and criminal cases, including this one.

The statute provides that an officer may remove “[a] civil action or criminal

prosecution that is commenced in a State court and that is against or directed

to” a federal officer to the federal district court “embracing the place wherein

it is pending.” 28 U.S.C. § 1442(a). Harris held that even after a state trial

court has entered judgment and while a state appeal is pending, a “federal


                                         5
              Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 11 of 40




defendant may remove a case to federal district court from the state appellate

court.” 122 F.4th at 424. As the court explained:

            No statutory language expressly requires a case
            removed under section 1442(a)(1) to be pending in the
            court in which it commenced. Instead, there are two
            preconditions to removal, each marked by the word
            “that.” As relevant here, the removed action must be
            one (1) “that is commenced” in state court and (2) “that
            is against or directed to” a U.S. agency or federal
            officer.

Id.

      To be sure, both the statutory language and common sense require that

the case being removed must still be “pending” in state court. 28 U.S.C.

§ 1442(a) (emphasis added); id. § 1455(a).        But DANY is wrong that a

prosecution “is no longer ‘pending’ for federal removal purposes when the

defendant has been sentenced.” Opp. 21. As the D.C. Circuit explained in

Harris, a “case need not be pending in the court in which it originated.”

122 F.4th at 422. Under the “plain meaning of the word,” a state action is

“pending” “as long as the parties are still actively contesting the case in the

state court system,” regardless of whether they are “contesting the case in the

state trial court or on appeal.” Id. at 422-423 (citations omitted).

      DANY also overlooks that courts have applied the same reasoning to

parallel federal removal statutes. For example, 12 U.S.C. § 1819(b)(2)(B)

                                         6
              Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 12 of 40




provides that the FDIC may “remove any action, suit, or proceeding from a

State court” that meets certain criteria “to the appropriate United States

district court” within 90 days after “the [FDIC] is substituted as a party.”

Three courts of appeals have held that this statutory language “permit[s]

appellate removal,” as its “plain language . . . does not limit removable actions

to those that have not yet reached a state trial court judgment.” Matter of

Meyerland Co., 960 F.2d 512, 515, 516-517 (5th Cir. 1992); see FDIC v. Keating,

12 F.3d 314, 316 (1st Cir. 1993); In re Savers Fed. Sav. & Loan Ass’n, 872 F.2d

963, 966 (11th Cir. 1989) (predecessor statute). Applying similar reasoning,

courts have similarly construed 12 U.S.C. § 1789(a)(2), which authorizes the

National Credit Union Administration to remove “any . . . action, suit, or

proceeding from a State court.” See Putnam v. DeRosa, 963 F.2d 480, 483 (1st

Cir. 1992).

      By contrast, when Congress “intend[s] to limit the removal power . . . to

suits pending before a state trial court,” it knows how to “explicitly state[] as

much.” Savers, 872 F.2d at 966. For example, the Federal Reserve removal

statute allows removal of a qualifying case “any time before the trial thereof.”

12 U.S.C. § 632 (emphasis added). That kind of limiting language is not in

Section 1442(a) or Section 1455, because Congress did not impose such a limit


                                         7
                Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 13 of 40




on federal officers seeking to remove a criminal prosecution.               Instead,

Congress expressly contemplated that removals could occur “at a later time”

than “before trial,” provided there is “good cause shown.”                 28 U.S.C.

§ 1455(b)(1).

      Interpreting the federal-officer removal statute to permit appellate

removal also reflects the fundamental purpose of that statute: to “ensure a

federal forum” so that “the contours of federal power [are] determined by

federal courts,” Harris, 122 F.4th at 423 (citations omitted), “free from local

interests or prejudice,” Manypenny, 451 U.S. at 242. If the need for a federal

forum becomes clear only during or after trial, as happened here, that federal

forum should be available then. Defendants cannot be required to rely solely

on the availability of Supreme Court review on appeal from state court, given

the Court’s discretionary docket. The purpose of the removal statute is that

federal review be available as soon as practicable, which is precisely what

President Trump seeks here.

      B.    DANY’s Efforts To Avoid Removal Are Legally Flawed.

      To escape the plain language of the federal-officer removal statute,

DANY offers a hodgepodge of structural inferences, abstention doctrines, and

preclusion principles. Because the “inquiry here is satisfied by the plain text,”


                                           8
               Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 14 of 40




this Court “need proceed no further.” Aetna Life Ins. Co. v. Big Y Foods, Inc.,

52 F.4th 66, 75 (2d Cir. 2022).           Regardless, DANY’s arguments are

unpersuasive.

      First, DANY points to 28 U.S.C. § 1455(b)(3), which allows a state

prosecution to proceed in state court after the filing of a removal notice “except

that a judgment of conviction shall not be entered [by the state court] unless

the prosecution is first remanded.”           DANY contends (at 22) that this

“automatic stay of the entry of a final criminal judgment would be pointless

and superfluous if such a judgment did not meaningfully affect the availability

of removal.” But that does not follow. Congress can simultaneously allow for

removal at any stage and still recognize that a particular stage—judgment of

conviction against a criminal defendant—requires additional guardrails. After

all, such judgment may result in immediate incarceration, a highly significant

consequence.

      Second, DANY says (at 23-24) that “principles of res judicata . . . support

precluding removal after the entry” of the state trial court’s judgment. Not

so. Res judicata requires a federal court to give full faith and credit to a state

court judgment. But it does not require that such judgment be given “more

than the force and effect” it “would have had in state court” had it not been


                                          9
              Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 15 of 40




removed. Granny Goose Foods, Inc. v. Bhd. of Teamsters & Auto Truck

Drivers Loc. No. 70, 415 U.S. 423, 436 (1974) (emphasis added). A state trial

court’s judgment is subject to reversal on appeal in state court. So too, such a

judgment is reviewable on appeal after proper removal to federal court. That

is why Harris and the other cases cited above perceived no conflict between

res judicata and removal of a case currently on appeal in a state court.1

       Third, DANY invokes Rooker-Feldman abstention. It argues (at 26)

that it would be “anomalous” to “transfer[]” President Trump’s “direct appeal

of his criminal conviction from state court to the federal district court.” But

that is not what happens in any practical sense. Under the res judicata

principles just discussed, a case that is removed from a state appellate court

belongs in the relevant federal appellate court. Indeed, that is what federal

appellate courts have unanimously concluded. See Harris, 122 F.4th at 428

(Henderson, J., concurring) (citing cases). The federal district court may be a

brief waystation and play a facilitating role, and courts have articulated

somewhat different views on the appropriate procedural mechanism. See id.


   1
      To be clear, res judicata principles do preclude any argument that the
state trial court’s judgment of conviction is itself void solely on jurisdictional
grounds. President Trump does not seek to nullify the judgment on the
ground that the state court retroactively lacked jurisdiction; he seeks to
overturn the judgment in federal court.
                                        10
             Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 16 of 40




(describing different approaches); 16 Moore’s Federal Practice Civil § 107.141

(same).2 But the ultimate result of the process is clear: federal courts do what

they always do “[a]fter removal,” which is “take[] the case up where the State

court left it off.” Granny Goose Foods, 415 U.S. at 436.

       As for Rooker and Feldman, those judge-made doctrines “do not

preclude” federal appellate review of a state trial court judgment if Congress

expressly authorizes that review. Resolution Tr. Corp. v. Nernberg, 3 F.3d 62,

66-67 (3d Cir. 1993); see Meyerland, 960 F.2d at 515-516; see also Martin

v. Hunter’s Lessee, 14 U.S. (1 Wheat.) 304, 349 (1816) (“Congress . . . may

authorize a removal either before or after judgment.”).           Post-judgment

removal is not “so at odds with Article III jurisprudence that it precludes

following the plain language of [a] statute” authorizing that result.

Meyerland, 960 F.2d at 520.

       Fourth, DANY points to 28 U.S.C. § 1447(c), which requires district

courts to remand any removed case “if at any time before final judgment it


   2
      Meyerland held that the district court could simply “take the state
judgment as it finds it, prepare the record as required for appeal, and forward
the case to a federal appellate court.” 960 F.2d at 520. Other decisions require
the district court to “adopt the state court’s judgment as its own,” after which
the removing party may file a notice of appeal. Harris, 122 F.4th at 426
(Henderson, J., concurring). President Trump takes no position on the
particular procedural mechanism required here.
                                       11
              Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 17 of 40




appears that the district court lacks subject matter jurisdiction.” Opp. 23

(emphasis added). That provision is a red herring. Section 1447(c) is plainly

referring to the federal district court’s jurisdiction and judgment. Obviously,

a federal district court may remand a case to state court only until the federal

district court enters a final judgment and its jurisdiction ends. That suggests

nothing about whether removal is available after the state trial court enters

judgment.

      Fifth, DANY suggests (at 26) that it would be odd for a federal appellate

court to resolve a “defendant’s state-law objections regarding his state

criminal conviction.” Not at all. Federal appellate review of state law issues

is a built-in feature of all removal statutes, including the federal-officer

removal statute. After a criminal removal, the federal district court “appl[ies]

the criminal law of the State”—just as it does with State civil law in a diversity

case. Manypenny, 451 U.S. at 241. If the defendant is convicted and appeals,

the district court’s application of state law is subject to appellate review, just

as it would be in a diversity case or in any earlier-removed federal-officer case.

II.   PRESIDENT TRUMP HAD GOOD CAUSE TO FILE A SECOND,
      POST-TRIAL REMOVAL NOTICE.

      DANY is also wrong to argue (at 27-41) that President Trump lacked

good cause to file a post-trial removal notice. President Trump plainly had
                                        12
             Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 18 of 40




such cause in light of three extraordinary developments that occurred either

during or after the trial. First, DANY introduced into evidence and asked the

jury to scrutinize President Trump’s official Presidential acts. Second, one

month after trial, the Supreme Court unequivocally recognized an immunity

prohibiting the use of such acts as evidence at any trial of a former President.

See Trump, 603 U.S. at 629-632. Third, the trial court improperly instructed

the jury that it could convict President Trump of a state felony if it found that

he had violated a New York election statute by the “unlawful means” of

violating FECA.

      Separately and taken together, these developments established

President Trump’s immediate right to a federal forum. And President Trump

had the requisite “good cause” for invoking that entitlement after his trial

because, in these singular circumstances, he literally could not have done so

before it. DANY overlooks the low standard for removability and has little to

say—none of it persuasive—on the critical “good cause” question.

      A.    President Trump’s Second Removal Notice Satisfied The
            Requirements Of The Federal-Officer Removal Statute.

      The Supreme Court’s decision in Trump makes clear that DANY’s

prosecution counts as one that is “for or relating to any act under color” of the

Presidency. 28 U.S.C. § 1442(a)(1). Trump likewise provides a federal defense
                                       13
              Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 19 of 40




of Presidential evidentiary immunity.         And the New York election-law

predicate crime on which DANY’s prosecution hinges is preempted. President

Trump’s second removal notice accordingly satisfies both requirements of the

federal-officer removal statute.

            1.    The prosecution “relates to” President Trump’s official
                  acts because DANY used those acts as evidence at trial.

      Off the bat, DANY runs from the appropriate standard of review.

President Trump need not definitively persuade this Court that his

prosecution is “for or relating to any act” under color of the Presidency.

28 U.S.C. § 1442(a)(1). All that is required is “an adequate threshold showing”

on that score. Jefferson Cnty. v. Acker, 527 U.S. 423, 431-432 (1999). In

conducting its analysis, this Court must “credit [President Trump’s] theory of

the case” so long as it is “colorable.” Id. DANY disregards that forgiving

standard and instead jumps straight to a full merits assessment of President

Trump’s arguments. But that “defeat[s] the purpose of the removal statute,”

id., which is “to give officers a federal forum in which to litigate,” id. at 447

(Scalia, J., concurring in part and dissenting in part).

      Under the appropriate standard, DANY’s prosecution of President

Trump more than plausibly qualifies as “for or relating to any act” that he

took “under color” of the Presidency.
                                        14
              Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 20 of 40




                   a.    A prosecution “relates to” a President’s official
                         acts if the government uses such acts as evidence.

      The federal-officer removal statute applies to cases in which the

prosecution uses “any act under color of [the President’s] office” as evidence

at a criminal trial of the President, 28 U.S.C. § 1442(a)(1), regardless of

whether the charged conduct itself qualifies as official. In resisting that

conclusion (at 33-34), DANY ignores both the plain language of the statute and

the reasoning of Trump, which recognized a special evidentiary immunity in

light of the “peculiar constitutional concerns implicated in the prosecution of a

former President.” 603 U.S. at 630-632.

      As a textual matter, a state prosecution that uses a federal officer’s

official acts against him as evidence is a prosecution “relating to” those official

acts. 28 U.S.C. § 1442(a)(1). Section 1442 applies to prosecutions either “for”

or “relating to” official acts, and the latter category expands the sweep of the

removal statute beyond the charged conduct.            Indeed, “when asked to

interpret statutory language including the phrase ‘relating to,’” the Supreme

Court “has typically read the relevant text expansively.” Lamar, Archer

& Cofrin, LLP v. Appling, 584 U.S. 709, 717 (2018) (collecting cases).

“Congress characteristically employs the phrase to reach any subject that has

a connection with” the object. Coventry Health Care of Mo., Inc. v. Nevils, 581
                                        15
              Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 21 of 40




U.S. 87, 96 (2017) (internal quotation marks omitted). For example, a state

law “‘relates to’ an employee benefit plan” if it has any effect on such plans,

“even if the law is not specifically designed to affect such plans, or the effect is

only indirect.” Ingersoll-Rand Co. v. McClendon, 498 U.S. 133, 139 (1990).

Thus, a criminal prosecution “relates to” official acts whenever such acts are

used as evidence, because that use creates the necessary connection between

the prosecution and the acts.

       In response, DANY insists that the “appropriate focus” under the

removal statute is the relationship between “the charged conduct and asserted

official authority.” Opp. 33.3 But DANY tellingly relies on cases applying an

earlier version of the removal statute, which permitted removal only of

prosecutions “for” official acts. In 2011, Congress added the “or relating to”

language. Removal Clarification Act of 2011, Pub. L. No. 112-51, § 2(b)(1)(A),

125 Stat. 545 (emphasis added). That amendment specifically “broadened

federal-officer removal to actions, not just causally connected, but



   3
      DANY rightly does not contend that the defendant must be a federal
officer at the moment he removes. The defendant need only have been a
federal officer when the relevant acts took place. Regardless, President
Trump is a federal officer now, and the usual rule is that a defect in an
otherwise validly removed case may be cured any time before final judgment.
See Caterpillar Inc. v. Lewis, 519 U.S. 61, 73, 77 (1996).
                                        16
             Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 22 of 40




alternatively connected or associated, with acts under color of federal office.”

Latiolais v. Huntington Ingalls, Inc., 951 F.3d 286, 292 (5th Cir. 2020)

(emphasis altered). A prosecution is “for” official acts if the charged conduct

is causally connected to such acts, whereas a prosecution “relates to” official

acts if it is “connected or associated” with official acts in some other way,

including through their use as evidence.

      DANY cites a handful of out-of-circuit decisions handed down after the

2011 amendments. Opp. 33-34. But none of them decided whether the use of

official-acts evidence is sufficient; all merely concluded that the charged

conduct itself had a sufficient official nexus. See, e.g., K&D LLC v. Trump Old

Post Off. LLC, 951 F.3d 503, 507 n.1 (D.C. Cir. 2020). Nor has this Court ever

addressed that argument head on. Instead, it has recognized that even the

pre-2011 version of the statute imposed a “quite low” burden on federal

officers. Isaacson v. Dow Chem. Co., 517 F.3d 129, 137 (2d Cir. 2008).

      At any rate, in the specific context of the Presidency, Trump compels

the conclusion that the prosecution’s use of official-acts evidence requires

removal to federal court. Congress enacted the federal-officer removal statute

(and its predecessors) to stave off the “weakness” and “paraly[sis]” in the

“general government” that would result if States could prosecute federal


                                       17
             Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 23 of 40




officers with impunity. Tennessee v. Davis, 100 U.S. 257, 262-263 (1879). That

concern is at its apex when the officer at issue is the President. As the

Supreme Court explained, “[t]he hesitation to execute the duties of his office

fearlessly and fairly that might result when a President is making decisions

under a pall of potential prosecution . . . raises unique risks to the effective

functioning of government.” Trump, 603 U.S. at 613 (internal quotation marks

omitted). Thus, the “Constitution does not tolerate” any prosecution of a

former President that might raise “the prospect that [his] official

decisionmaking will be distorted” in that way. Id. at 631, 636.

      Critically, that Presidential immunity not only protects former

Presidents from being “indicted based on conduct for which they are

immune”—which presumptively includes all official acts—but also bars the

use of such acts as “evidence” in the prosecution of a former President.

Trump, 603 U.S. at 631-632. As the Supreme Court emphasized, even the

“[u]se of evidence about such [official] conduct” would “eviscerate the

immunity,” as it would “raise [the] unique risk that the jurors’ deliberations

will be prejudiced by their views of the President’s policies and performance

while in office.” Id. at 631-632, 640. The constitutional immunity for a former

President now encompasses an evidentiary immunity that bars the use of


                                       18
              Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 24 of 40




official-acts evidence to “prove his liability on any charge,” official or

unofficial. Id. at 631 (emphasis added).

      Following Trump, the federal-officer removal statute must be

interpreted in light of that “unique” form of evidentiary immunity and the

“peculiar constitutional concerns” that animate it.         603 U.S. at 631; cf.

McDonnell v. United States, 579 U.S. 550, 574 (2016) (adopting interpretation

of “official act” to avoid “significant constitutional concerns”). Again, “one of

the most important reasons for removal” of state prosecutions against federal

officers “is to have the validity of the defense of official immunity tried in a

federal court.” Willingham v. Morgan, 395 U.S. 402, 407 (1969). And under

Trump, a former President has such a “valid[]” “official immunity” defense

whenever the prosecution uses official acts as evidence against him. If the use

of such evidence is damaging enough to warrant constitutional immunity, it is

undoubtedly important enough to trigger the removal statute.

                  b.      DANY used President Trump’s official acts as
                          evidence at trial.

      President Trump’s second removal notice made the required “adequate

threshold showing” that DANY’s prosecution relates to at least one official act.

Acker, 527 U.S. at 432.



                                        19
             Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 25 of 40




      Significant categories of DANY’s trial evidence—including testimony

about President Trump’s Oval Office communications with the Attorney

General and the White House Communications Director about matters of

public concern—clearly fell on the official-act side of the line. DANY claims

that “none of the evidence admitted at [President Trump’s] trial contravened

the Supreme Court’s ruling.”      Opp. 34. But again, DANY confuses the

ultimate merits with the threshold plausibility inquiry. The point of the

federal-officer removal statute is that such questions about “the scope of [a]

Defendant[’s] official duties” are “for the federal—not state—courts to

answer,” after the case has been removed. Isaacson, 517 F.3d at 138. In any

event, DANY’s merits arguments are misplaced.

      i.    The President’s Alleged Discussion With The Attorney

General. Begin with what is perhaps the most obvious example of “evidence

concerning the President’s official acts,” Trump, 603 U.S. at 630: Michael

Cohen’s testimony claiming that President Trump discussed a possible

Federal Election Commission inquiry with then-Attorney General Jeff

Sessions. JA 758-760. Under Trump, any such discussion with the country’s

chief law-enforcement officer would have been official conduct, as it “plainly

implicate[s] [the President’s] ‘conclusive and preclusive’ authority” to oversee


                                       20
              Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 26 of 40




federal law enforcement, including by the FEC. 603 U.S. at 620. “Under

Article II, the Executive Branch possesses authority to decide how to

prioritize and how aggressively to pursue legal actions against defendants who

violate the law.” Id. (internal quotation marks omitted).

      DANY has no good response. It argues that the FEC’s “authority is

exclusively civil, not criminal,” Opp. 38, but that makes no difference to the

President’s supervisory authority over an executive agency. And even if it did,

FEC investigations can turn into criminal prosecutions. In fact, Cohen himself

was prosecuted by the Justice Department for a FECA violation. DANY also

notes that President Trump “disputes that he actually spoke with the Attorney

General about this issue.” Id. Quite right. But nothing in Trump requires a

President to admit an alleged official act occurred or else waive Presidential

immunity, which exists “to protect not the President himself, but the

institution of the Presidency.” 603 U.S. at 632.

      ii.    Discussions     With     The     White   House     Communications

Director. Testimony by former White House Communications Director Hope

Hicks about her Oval Office discussions with President Trump is likewise

“readily categorized” as official “in light of the nature of the President’s official

relationship to the office held by” Hicks. Trump, 603 U.S. at 617.


                                         21
              Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 27 of 40




      DANY contends that, despite Hicks’s official position, President

Trump’s conversations with Hicks were not “official acts” because they

pertained to press stories on the supposed private “hush-money scheme.”

Opp. 36-37 (citation omitted). But those stories went to the heart of Hicks’s

official duties, which included responding to public reporting that might affect

the President’s “prestige as head of state and his influence upon public

opinion.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 653 (1952)

(Jackson, J., concurring). If Hicks had held a press conference from the White

House press room denying the supposed scheme, it clearly would qualify as

official. The same must be true of the President’s conversations with her about

what to say to the press.

      iii.   Official Presidential Statements On Twitter.                Finally,

President Trump’s “communications in the form of Tweets” introduced at trial

were also official acts. Trump, 603 U.S. at 629. Trump stated quite clearly in

discussing Tweets that “most of a President’s public communications”—even

those on “matters of public concern that may not directly implicate the

activities of the Federal Government”—“are likely to fall comfortably within

the outer perimeter of his official responsibilities.” Id. This Court has adopted

a similar principle in a case DANY ignores. See Knight First Amend. Inst. at


                                        22
             Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 28 of 40




Columbia Univ. v. Trump, 928 F.3d 226, 231 (2d Cir. 2019), vacated on other

grounds, 141 S. Ct. 1220 (2021). And it remains true even for Presidential

statements made while in office that concern his conduct before taking office,

which the Supreme Court itself has previously stated may “arguably” fall

“within th[at] outer perimeter.” Clinton v. Jones, 520 U.S. 681, 686 (1997); see

Council on Am. Islamic Relations v. Ballenger, 444 F.3d 659, 664-665 (D.C.

Cir. 2006) (congressman acted within scope of his office in discussing marital

status with reporter). That is more than enough to make the argument

colorable and thus to trigger removal.

      DANY responds that “prosecutor[s] may point to the public record” of

President Trump’s Tweets even if they were official acts. Opp. 35 (citing

Trump, 603 U.S. at 632 n.3). But DANY misreads the footnote it cites. The

Court was addressing Justice Barrett’s argument that it would be odd to

exclude all evidence of official acts in a prosecution of the President for

bribery, which depends on showing an official act. 603 U.S. at 632 n.3. To

avoid that conundrum, the Court explained that prosecutors may use public

records merely to establish that such an act took place. That is not what

DANY did with President Trump’s Tweets. On the contrary, DANY did

exactly what the footnote said it “may not do” with official acts: it “invite[d]


                                       23
             Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 29 of 40




the jury to inspect the President’s motivations.” Id. DANY used the Tweets

to argue (wrongly) that President Trump was pressuring Cohen to stay silent,

which DANY claimed proved the President’s knowledge and intent. JA 899.

            2.    The removal notice asserted colorable federal defenses.

      In addition to establishing that DANY’s prosecution relates to his

official acts as President, President Trump’s second removal notice also

“allege[d] a colorable defense under federal law.” Mesa v. California, 489 U.S.

121, 129 (1989). Again, the Court must “credit” President Trump’s “theory of

the case for purposes of” its limited “jurisdictional inquiry.” Acker, 527 U.S.

at 432. Here, at least two federal defenses—Presidential immunity and FECA

preemption—are certainly colorable and indeed correct.

                  a.    President Trump has an immunity defense.

      To start, because DANY introduced evidence at trial concerning

President Trump’s official acts, the second removal notice stated not just a

colorable but compelling defense of Presidential immunity. To overcome that

presumptive immunity, DANY had to show that using the relevant evidence

“pose[d] no dangers of intrusion on the authority and functions of the

Executive Branch.” Trump, 603 U.S. at 615. But the state trial court did not

require DANY to make such a showing before allowing the evidence.


                                       24
             Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 30 of 40




President Trump’s second removal notice therefore plausibly “rais[ed] . . . a

federal question,” Mesa, 489 U.S. at 136: whether the state court violated the

Constitution by “adjudicat[ing] a criminal prosecution that examine[d]”

certain actions protected by Presidential immunity. Trump, 603 U.S. at 609.4

                  b.    President Trump has a preemption defense.

       To transform President Trump’s supposed falsification of business

records from a misdemeanor into a felony, DANY had to identify “another

crime” that President Trump allegedly intended to “conceal” or “commit.”

Only at the very end of trial did DANY finally settle on such a predicate crime:

N.Y. Election Law § 17-152, which prohibits conspiracies to “promote or

prevent the election of any person to a public office by unlawful means.”

According to DANY, such “unlawful means” included a violation of FECA’s

prohibition on contributions to Presidential candidates in excess of $2,700. JA

666, 777. DANY’s far-fetched theory was that President Trump had falsified


   4
       Although DANY has argued separately (and unpersuasively) that any
violation of Trump’s evidentiary prohibition was harmless, Trump suggests
that such violations are not subject to harmless-error review. See 603 U.S. at
609 (courts may not “adjudicate a criminal prosecution that examines [official]
Presidential actions”); id. at 631-632 (normal evidentiary rules “are an
inadequate safeguard”). Regardless, DANY’s official-acts evidence was not
harmless at all, as proven by prosecutors’ repeated references to that evidence
during closing argument. See JA 865-866. At a minimum, such issues are for
the merits stage on appeal, not the threshold jurisdictional inquiry here.
                                       25
             Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 31 of 40




business records to conceal the fact that Cohen’s $130,000 payment to Stormy

Daniels was, in reality, an “unlawful means” of affecting the 2016 Presidential

election under N.Y. Election Law § 17-152, because it was an unlawful

contribution under FECA. See JA 673-673, 952-953.

      FECA preempts that application of Section 17-152. By its terms, FECA

expressly “preempt[s] any provision of State law with respect to election to

Federal office.” 52 U.S.C. § 30143(a) (emphasis added). That broad language

plainly covers any state “regulation of the conduct and financing of campaigns

for Federal elective office.” Holtzman v. Oliensis, 91 N.Y.2d 488, 495 (1998);

see 11 C.F.R. § 108.7(b)(3) (similar interpretation by FEC). If making a

contribution prohibited by FECA amounts to an “unlawful means” of

influencing an election under N.Y. Election Law § 17-152, then Section 17-152

necessarily “regulate[s] the conduct and financing of [federal] campaigns” and

is therefore preempted. Holtzman, 91 N.Y.2d at 495. Otherwise, 50 different

States and thousands of counties could enforce FECA’s contribution limits

through prosecutions in state court—precisely what DANY has done here.

That is what FECA’s broad preemption clause was designed to prevent.

DANY offers no response.




                                       26
              Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 32 of 40




      B.    President Trump Had Good Cause To File The Second
            Removal Notice After Trial.

      President Trump had good cause to pursue a post-trial removal for a

simple reason: he could not have raised any of the arguments set forth herein

until well after his trial began. DANY does not even contest that point.

Instead, it defends the district court’s denial of leave simply by parroting the

abuse-of-discretion standard. Opp. 18-19.

      Even if that standard might generally apply, it cannot save the three-

page order at issue here, in which the district court ignored all of the key legal

issues. See, e.g., Colbert v. Rio Tinto PLC, 824 Fed. Appx. 5, 12 (2d Cir. 2020)

(district court abused its discretion “by failing to address” central issue). The

order said nothing about whether DANY’s prosecution was “for or relating to”

official acts. It said nothing about the evidentiary immunity established by

Trump. And it said nothing about FECA preemption. President Trump’s

colorable arguments on each of those issues met the criteria for removal, and

none was available to him before trial. That was plainly good cause for the

former and now current President of the United States to remove his

unprecedented criminal prosecution.

      1.    Although no court has defined the term in this context, “good

cause” generally includes factual or legal developments that materially affect
                                        27
              Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 33 of 40




a party’s rights or arguments, but were not “reasonably available” within the

default statutory period. See Reed v. Ross, 468 U.S. 1, 16 (1984) (habeas

petitioner “has cause” for procedural default of an argument if its “legal basis

[was] not reasonably available to counsel” during earlier state proceedings).

Indeed, the federal-officer removal statute expressly entitles a defendant to

file “a second notice” of removal “on grounds not existing at the time of the

original notice.” 28 U.S.C. § 1455(b)(2). When such grounds arise only after

trial, that must be “good cause” to remove.

      2.    Before trial, President Trump could not have made the argument

he makes now that his prosecution “relates to” official acts. Nor could he have

raised the federal defense of Presidential evidentiary immunity.          Both

arguments stemmed from the Supreme Court’s post-trial decision in Trump.

Even DANY admits that Trump “announced new rules for determining

whether a President is immune from criminal prosecution,” Opp. 32 (emphasis

added), which included new “guidance on” the “unprecedented and

momentous question[]” of how to separate a President’s “official from

unofficial actions,” 603 U.S. at 616-617.

      Both arguments also did not crystallize into a basis for removal until the

trial itself, when DANY was permitted (over President Trump’s objection) to


                                        28
              Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 34 of 40




introduce and probe his official acts. Before that point, there had been no

violation of President Trump’s “entitlement not to have to answer for his”

official acts as evidence.    Trump, 603 U.S. at 630.        Given the “peculiar

constitutional concerns implicated” by “allowing [DANY] to ask or suggest

that the jury probe official acts,” the state court’s failure to prevent that harm

to the “institution of the Presidency,” id. at 631-632, was good cause for

removal to federal court. President Trump argued as much at length in his

removal notice. JA 463-475.

      Remarkably, the district court’s three-page order denying leave to

remove did not say a word about Presidential evidentiary immunity. In

addressing Trump, the court merely invoked its “previous conclusion” that the

supposed “hush money payments were private, unofficial acts,” and stated that

“[n]othing in the Supreme Court’s opinion” changed that conclusion. SPA 3.

But that previous conclusion was irrelevant to the evidentiary immunity issue,

which applied “even [if] [the] indictment allege[d] only unofficial conduct.”

Trump, 603 U.S. at 631. And it was likewise irrelevant to President Trump’s

argument that DANY’s “trial presentation” made this “a prosecution ‘relating

to’ official acts,” JA 463. The district court’s failure to address these key legal

arguments was an abuse of discretion.


                                        29
             Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 35 of 40




      3.    The same holds true for President Trump’s FECA preemption

defense. Because DANY refused to articulate its FECA-based theory of N.Y.

Election Law § 17-152 until the last possible moment at trial, President Trump

had no opportunity to raise his preemption defense before trial. Indeed, in

opposing President Trump’s first removal, DANY identified Section 17-152 as

only one among several predicate offenses. JA 218, 282-283. DANY even

represented to the district court that it might not “rely on Election Law § 17-

152 at trial,” and argued that “the mere possibility that a verdict [could] rely

on Election Law § 17-152” was “simply too speculative a basis on which to rest

a finding of preemption.” JA 282-283 (internal quotation marks omitted).

DANY also represented that the “charges here do not relate to the specific

disclosures mandated by FECA.”         JA 280.     The district court accepted

DANY’s representations, explaining that “NYEL § 17-152 [was] not

preempted by FECA” because its “application” by DANY in these

circumstances did not “target campaign contributions and expenditures.” JA

429-430. But that is exactly the application of Section 17-152 that DANY later

sprang at trial to secure President Trump’s unlawful conviction.

      Thus, by obscuring its theory from the district court, DANY succeeded

at defeating preemption during the initial remand proceedings. President


                                       30
             Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 36 of 40




Trump therefore plainly had good cause to return to the district court making

that argument after DANY finally laid its cards on the table. Yet the court’s

opinion denying President Trump leave to file says nothing about the

preemption issues. That again was a clear abuse of discretion.

      In its opposition, DANY barely defends its hide-the-ball tactics and

offers no response on the merits of FECA preemption. See Opp. 50. It says

only that President Trump can raise his preemption “argument on direct

appeal.” Id. But that is not responsive to the removal question. President

Trump is entitled not just to an appeal somewhere but to raise his federal

preemption argument in this federal appellate court, which will be “free from

local interests or prejudice,” Manypenny, 451 U.S. at 242; see Opening Br. 53-

62.

      4.   DANY also claims (at 40) that regardless of the strength of

President Trump’s case for post-trial removal, he simply waited too long to

make it. That is absurd. President Trump filed his 60-page second removal

notice (plus 38 exhibits) less than two months after the Supreme Court’s

decision in Trump in the stretch run of his successful campaign for the

Presidency. During those two months, his campaign was upended by multiple

shocking events, including a near-miss assassination attempt and President


                                       31
             Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 37 of 40




Biden’s exit from the race. At the same time, President Trump’s counsel were

drafting   time-limited   post-trial   briefs   to   try   to   forestall   another

unprecedented development:        the criminal sentencing of a Presidential

candidate weeks before the general election.

      In light of these extraordinary circumstances, DANY’s citations (at 40-

41) to cases involving discovery deadlines and expert depositions ring hollow.

President Trump did not sleep on his rights or fail to exercise “diligence.”

Opp. 40. He took a reasonable amount of time, while fighting on many other

fronts, to prepare a thorough removal notice specifying his right to a federal

forum notwithstanding the conclusion of his trial. The time between the

Trump decision and the filing of that notice did not affect the legal arguments

or the availability of post-trial removal. It did not affect the state court

proceedings. It caused absolutely no prejudice to DANY. And the district

court below mentioned nothing about it. DANY’s insistence on an unwritten,

immaterial deadline runs counter to the Supreme Court’s repeated instruction

to courts not to “frustrate[]” the goals of the federal-officer removal statute

with a “narrow, grudging interpretation.” Manypenny, 451 U.S. at 242.




                                       32
            Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 38 of 40




                              CONCLUSION

     The Court should reverse the district court’s order denying President

Trump leave to file the removal notice and remand for the district court to

enter an order to permit this Court’s direct appellate review of this

prosecution of President Trump.



MARCH 3, 2025

                                           Respectfully submitted,

                                           /s/ Robert J. Giuffra, Jr.
                                           ROBERT J. GIUFFRA, JR.
                                           MATTHEW A. SCHWARTZ
                                           JAMES M. MCDONALD
                                           SULLIVAN & CROMWELL LLP
                                           125 Broad Street
                                           New York, New York 10004
                                           (212) 558-4000

                                           JEFFREY B. WALL
                                           MORGAN L. RATNER
                                           SULLIVAN & CROMWELL LLP
                                           1700 New York Ave. NW
                                           Washington, DC 20006
                                           (202) 956-7500

                                           Counsel for Defendant-
                                           Appellant President Donald J.
                                           Trump




                                      33
             Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 39 of 40




                   CERTIFICATE OF COMPLIANCE

     This Brief complies with Second Circuit Rule 32.1(a)(4)(B) because it

contains 7,000 words.

     This Brief also complies with the requirements of Federal Rule of

Appellate Procedure 32(a) because it was prepared in 14-point font using a

proportionally spaced typeface.

                                           /s/ Robert J. Giuffra, Jr.
                                           ROBERT J. GIUFFRA, JR.

MARCH 3, 2025
             Case: 24-2299, 03/03/2025, DktEntry: 68.1, Page 40 of 40




                      CERTIFICATE OF SERVICE

     I hereby certify that, on this 3rd day of March, 2025, I electronically filed

the foregoing Brief with the Clerk of Court using the ACMS system. I certify

that service will be accomplished by the ACMS system for all participants in

this case who are registered ACMS users.



                                           /s/ Robert J. Giuffra, Jr.
                                           ROBERT J. GIUFFRA, JR.


MARCH 3, 2025
